Case No. 1:20-cr-00152-PAB Document 872-1 filed 11/26/21 USDC Colorado pg 1 of 3




                         ATTACHMENT A
Case No. 1:20-cr-00152-PAB Document 872-1 filed 11/26/21 USDC Colorado pg 2 of 3




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                                                                                                                  Anna T. Pletcher
 October 22, 2021                                                                                                 D: +1 415 984 8994
                                                                                                                  apletcher@omm.com
 VIA EMAIL
 Michael T. Koenig, Esq.
 Trial Attorney
 U.S. Department of Justice
 Antitrust Division
 450 Fifth Street, NW
 Washington, DC 20530

 Dear Counsel:

        I write on behalf of all Defendants. Pursuant to the Court’s Order of October 15, 2021
 (Doc. 649), this letters constitutes a supplement to the expert disclosure related to Professor
 Edward A. Snyder, Ph.D. that was served on you on July 19, 2021. In accordance with the
 October 15 Order, Defendants further disclose:

           Professor Snyder is expected to testify about the application of economic
           techniques he used to test alternative hypotheses related to certain bids and prices
           of broiler chicken observed in this case. Specifically, he has tested whether
           “observed outcomes,” which he defines here as bids, prices, and related data, are
           consistent with the alleged price-fixing and bid-rigging agreement. Professor
           Snyder analyzed supply and demand conditions, industry characteristics, bid and
           price data, and suppliers’ specific business strategies and assessed their impact
           on the observed outcomes. Professor Snyder is expected to testify that his
           analyses showed that the observed outcomes are inconsistent with a price-fixing
           and bid-rigging agreement.

           In addition, Professor Snyder will testify about the results of his benchmarking
           analyses. Benchmarking is a standard approach used by economists by which one
           set of data is compared to another. 1 Professor Snyder used benchmarking to
           compare the prices at issue to prices that were not alleged to have been affected
           by the alleged conspiracy. To perform his benchmarking analyses, Professor
           Snyder relied on a data set comprised of prices paid by a sample of buyers of
           comparable products and prices charged by a sample of suppliers of comparable
           products across various time periods. Professor Snyder is expected to testify that
           the benchmarking analyses showed that the prices at issue were not
           systematically higher than a database of benchmark prices, including prices not



 1
  McCrary, Justin and Daniel L. Rubinfeld, “Measuring Benchmark Damages in Antitrust Litigation,”
 Journal of Econometric Methods, 2014; Hausman, Jerry A. and J. Gregory Sidak, “Evaluating Market
 Power Using Competitive Benchmark Prices Instead of the Herf indahl-Hirschman Index,” Antitrust Law
 Journal 2007.


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Case No. 1:20-cr-00152-PAB Document 872-1 filed 11/26/21 USDC Colorado pg 3 of 3




        alleged to have been affected by the alleged conspiracy, and, therefore, are
        inconsistent with the alleged price-fixing and bid-rigging conspiracy.



 Sincerely,

 /s/ Anna Pletcher

 Anna T. Pletcher

 of O’MELVENY & MYERS LLP

 cc: All Counsel of Record




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